Case 2:17-cv-11990-AJT-PTM
             Case: 18-1425 Document:
                           ECF No. 2117filedFiled:
                                             01/25/19
                                                   01/25/2019
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                Filed: January 25, 2019




Mr. David J. Weaver
U.S. District Court
for the Eastern District of Michigan
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 18-1425, Dion Armstead v. Kevin Lindsey
                         Originating Case No. : 2:17-cv-11990

Dear Clerk,

  Enclosed is a copy of the mandate filed in this case.

                                                Sincerely yours,

                                                s/Jennifer Earl
                                                Case Manager
                                                Direct Dial No. 513-564-7066

cc: Mr. Dion Armstead
    Mr. Jared D. Schultz

Enclosure
Case 2:17-cv-11990-AJT-PTM
             Case: 18-1425 Document:
                           ECF No. 2117filedFiled:
                                             01/25/19
                                                   01/25/2019
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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 18-1425
                                           ________________

                                                                      Filed: January 25, 2019

DION ARMSTEAD

                Petitioner - Appellant

v.

KEVIN LINDSEY, Warden

                Respondent - Appellee



                                            MANDATE

     Pursuant to the court's disposition that was filed 01/03/2019 the mandate for this case hereby

issues today.



COSTS: None
